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Case 2:05-CV-02185-BBD-tmp Document 24 Filed 08/11/05 Page 1 of 5_ Page|D 50

   
  
 

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IN THE UNITED STATES DISTRICT CoURT §§ we m md _
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG " “' ?'¢

 

WESTERN DIVISION j§¢ \_ ’1 ' -'GM]_D
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) `\"»"5"§"0.`~`~ g ¢`" v?€""M".
OLYMPIC OPTICAL LLC, )
)
Plaintiff, )
)
v. ) Civil Action No. 05-2185 D
) Hon. Bernice Donald
)
DAISY MANUFACTURING COMPANY, INC. )
)
Defendant. )

 

AMENDED SCHEDULING ORDER

 

COME NOW PlaintiffOlympic Optical LLC and Defendant Daisy Manufacturing Company,
by and through counsel of record, and make the proposed amendments to the Scheduling Order:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(3)(1): June 8, 2005
PLAINTIFF’S DISCLOSURE OF INFRINGEMENT CONTENTIONS: June 24, 2005
JO[NING PARTIES: July 7, 2005
AMENDING PLEADINGS: July 7, 2005
DEFENDANT’S NON-INFRINGEMENT AND INVALIDITY CONTENTIONS: July 25, 2005
PLAINTIFF’S RESPONSE TO INVALIDITY CONTENTIONS: September l, 2005
PARTIES MEET AND CONFER REGARDING CLAIM CONSTRUCTION: September 9, 2005
INITIAL MOTIONS TO DISMIS& September 29, 2005
PLAINTIFF FILES CLAIM CONSTRUCTION BRIEF:October 7, 2005

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This document entered on the docket sheet in compliance

w'zth F|u1e 58 and/or 79(a) FRCP on 8-'/_(¢ 'G §

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Case 2:05-cV-02185-BBD-tmp Document 24 Filed 08/11/05 Page 2 of 5 Page|D 51

DEFENDANT FILES RESPONSE REGARDING CLAIM CONSTRUCTION:November 4,
2005

REQUESTED DATE FOR CLAIM CONSTRUCTION HEARING: Novernber 18, 2005
COMPLETING FACT AND EXPERT DISCOVERY: March 10, 2006
(a) DOCUMENT PRODUCTION: Decernber 16, 2005

(b] DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: Decernber 16, 2005

(c) DISCLOSURE OF EXPERT TESTIMONY (Rule 26):

(l) DISCLOSURE OF EXPERT TESTIMONY ON ISSUES AS TO WHICH
PARTY HAS THE BURDEN OF PROOF: January 12, 2006

(2) SUPPLEMENTAL DISCLOSURE 'I`O CON'I`RADICT OR REBUT
EVIDENCE ON THE SAME SUBJECT MATTER: February 10, 2006

(3) COMPLETE EXPERT WITNESS DEPOSITIONS: March 10, 2006
FILING DISPOSITIVE MOTIONS:March 24, 2006
RESPONSES TO DISPOSITIVE MOTIONS: April 14, 2006
REPLY BRIEFS IN SUPPORT OF DISPOSITIVE MOTIONS:April 21, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or Within
thirty (30) days of the default or the service of the response, answer, or objection, which is the

M DA 895990 vl
2790917-000001 08/09/05

Case 2:05-cV-02185-BBD-tmp Document 24 Filed 08/11/05 Page 3 of 5 Page|D 52

subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the time
for filing of such motion is extended for good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for non-jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. It is anticipated that the trial will last approximately three (3)
days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation.

The parties are reminded that pursuant to Local Rule l l(a)(l)(A), ali motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for Which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered upon request of the parties. Absent good cause shown, the

scheduling dates set by this order will not be modified or extended

IT IS SO ORDERED. \/(/\-(P€@`f\

TU M. PHAM
United States Magistrate Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02185 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Case 2:05-cV-02185-BBD-tmp Document 24 Filed 08/11/05 Page 5 of 5 Page|D 54

Honorable Bernice Donald
US DISTRICT COURT

